Case 2:03-cv-02528-.]PI\/|-STA Document 41 Filed 06/27/05 Page 1 of 3 Page|D 57

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IN THE UNITED S'I`ATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 q :,:-_,» 27 _~,H l ` j
want ! _ L’_

 

WESTERN DIvIsIoN - -
BRUCE CARD, ) 9
) .'-..l;:v::~"-H.'s
Plaintiff, )
)
vs. ) No. 03-2528 Ml/An
)
AMISUB (sFH), INC. d/b/a sT. )
FRANCIS HOSPITAL and )
B. LAWSoN, M.s., )
)
Defendants. )

 

ORDER DENYING MOTION TO COMPEL

 

Before the Court is Plaintiff’ s Motion to Compel filed on June l7, 2005. Plaintiff failed
to file a Certificate of Consultation as required by Local Rule 7.2(a)(l)(B) of the Local Rules of
the United States District Court for the Westem Di strict of Tennessee. Local Rule 7.2(3)(1)(B)
provides:

Consultation by Counsel. All motions, including discovery motions, but not
including motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be
accompanied by a certificate of counsel (With one copy) affirming that, after
consultation between the parties to the controversy, they are unable to reach an
accord as to all issues or that all other parties are in agreement With the action
requested by the motion. Failure to file an accompanying certificate of
consultation may be deemed good grounds for denying the motion.

The certificate must contain the names of participating counsel and the date and
manner of consultation The burden Will be on counsel filing the motion to
initiate the conference upon giving reasonable notice of the time, place and
specific nature of the conference If an opposing counsel or party refuses to
cooperate in the conduct of a conference, counsel must file certificate to that
effect, setting out counsel’s efforts to comply With this rule.

] This document entered on the docket heat in cc§iplian e
n with Hule 58 and/or 79(a) FHCP en d /

Case 2:03-cv-02528-.]PI\/|-STA Document 41 Filed 06/27/05 Page 2 of 3 Page|D 58

Therefore, the motion is DENIED without prejudice Plaintiff is welcome to re-file the instant

motion after complying With the Local Rules.

I'I` IS SO ORDERED.

cg F/.h*nm.s @.J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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DATE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:03-CV-02528 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

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Honorable .l on McCalla
US DISTRICT COURT

